Case 3:17-cr-00018-K Document 652 Filed 10/12/21 Page1of1 PagelD 2327

IN THE UNITED STATES DISTRICT COURT F | LE D
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION October 12, 2021
KAREN MITCHELL

UNITED STATES OF AMERICA : CLERK, U.S. DISTRICT COURT
§

v. § NO. 3:19-CR-0036-
§

NATHANIAL SMITH §

Defendant

REPORT & RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
AND DEFENDANT’S WAIVER OF RIGHT TO OBJECT

Defendant NATHANIAL SMITH, is charged in a petition with a violation of the terms of
his supervised release. On this date, the United States magistrate judge conducted a
revocation hearing. Defendant appeared in person and represented by counsel.

Based on Defendant’s plea of true to the allegations in the petition and the evidence and
arguments offered at the hearing, the magistrate judge recommends the United States District
Judge:

@ find Defendant violated the terms of his supervised release;

WW revoke Defendant’s supervised release;

iY impose a sentence of an additional term of imprisonment of 12 months and 1 day with

a further term of 0 months of supervised release to follow; and
with credit for time served.

SO RECOMMENDED.
October 12, 2021
Date

    

REBECCA RU
UNITED STATES NJAGISTRATE JUDGE

In open court, the magistrate judge informed Defendant that any recommendation of
revocation of supervised release, and the imposition of any sentence, is subject to the approval of
the United States District Judge, and that Defendant may object to the magistrate judge’s
recommendation before any additional sentence is imposed.

I, Defen NATHANIAL SMITH, hereby
waive my right to object to the report and recommendation of the magistrate judge.
0 do NOT waive my right to object to the report and recommendation of the magistrate

_ judge. —
[VD -\a-a\ RW

Date Defendant

 

pom A
Consented to by United States Antut

Assistant U.S. Attorney
